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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE


United States of America

        v.                                 Criminal No. 09-cr-18-02-PB

Jordan Manning


                                  O R D E R

        On August 25, 2010, defendant appeared for a Aprobable

cause@ hearing under Fed. R. Crim. P. 32.1 on three alleged

violations of conditions of supervision.           Defendant stipulated

to probable cause on the violations.

        Defendant sought bail conditions under Rule 32.1(a)(6). The

government sought detention.        Under Rule 32.1(a)(6) defendant

bears the burden of establishing by clear and convincing

evidence that he will not flee and that he poses no danger to

any other person or to the community.

        The government concedes that defendant is not a flight

risk.     Rather, the government argues that the defendant is

incapable of abiding by any conditions of release due to his

drug addiction.      In addition to defendant’s record of drug

abuse, the government pointed to evidence that defendant (a)

tested positive for drug use after his arrest on today’s date



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and (b) had, by his own admission, used illegal drugs only one

day after his release from an intensive drug treatment program.

The evidence further reveals that the counselors in defendant’s

most recent treatment program view defendant as having exhausted

all available drug treatment options.

     Having considered the government’s proffer and arguments

for detention, I nonetheless find that defendant has provided

clear and convincing evidence that there are conditions that can

reasonably assure his own safety and that of the community.               I

explained orally from the bench my findings and the reasons I

ordered conditional release.     I incorporate those findings and

rulings by reference herein.

       I summarize those findings here:

       •   Defendant is 20 years old and suffers from a severe

           drug problem.

       •   Defendant has no history of violence.

       •   Defendant has no history of drug trafficking.

       •   Defendant does well when in structured treatment

           settings.

       •   Defendant has a stable and long-term relationship with

           his father, with whom he has lived his whole life.



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       •   The two most serious charges stem from a statement

           that defendant gave to his probation officer on July

           21, 2010, wherein he admitted to using two illegal

           drugs.   During that interview, defendant expressed a

           desire to attend another inpatient treatment program.

       •   According to an assessment by Corey Gately, a licensed

           substance abuse counselor familiar with defendant, Ms.

           Gately believes that defendant “has all the tools

           needed to remain sober as evidenced by his month long

           periods of sobriety.”      Apparently, defendant has “the

           tools” but has not been utilizing them while under

           supervision.      This court expects that defendant will

           be motivated to use “all the tools” that he does have

           to remain sober pending his final revocation hearing

           on September 30, 2010.

     The court set strict conditions of release and those

conditions are outlined in a separate written order.             Those

conditions include home confinement with electronic monitoring

and a further bail hearing during the week of September 6, 2010,




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so that the court can assess defendant’s compliance with the

conditions.

      SO ORDERED.



                                  Landya B. McCafferty
                                  United States Magistrate Judge

August 25, 2010

cc:   Mark S. Zuckerman, Esq.
      Bjorn R. Lange, Esq.
      U.S. Marshal
      U.S. Probation




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